                           Case 2:18-cv-00621-DGC Document 94 Filed 02/19/20 Page 1 of 35
AO 133       (Rev. 12/09) Bill of Costs


                                                 UNITED STATES DISTRICT COURT
                                                                                             for the
                                                                           District
                                                                    __________      of Arizona
                                                                                District of __________

                  The Satanic Temple, Inc., et al.                                               )
                                                                                                 )
                                          v.                                                     )         Case No.: CV18-00621-PHX-DGC
                             City of Scottsdale                                                  )
                                                                                                 )

                                                                                 BILL OF COSTS
Judgment having been entered in the above entitled action on                                         02/06/2020                  against          Plaintiffs                             ,
                                                                                                            Date
the Clerk is requested to tax the following as costs:

Fees of the Clerk . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           $

Fees for service of summons and subpoena . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Fees for printed or electronically recorded transcripts necessarily obtained for use in the case . . . . . .                                                                3,285.18

Fees and disbursements for printing . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     143.00

Fees for witnesses (itemize on page two) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  212.24

Fees for exemplification and the costs of making copies of any materials where the copies are
necessarily obtained for use in the case. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

Docket fees under 28 U.S.C. 1923 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Costs as shown on Mandate of Court of Appeals . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Compensation of court-appointed experts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Compensation of interpreters and costs of special interpretation services under 28 U.S.C. 1828 . . . . .
Other costs (please itemize) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      1,239.48

                                                                                                                                               TOTAL            $           4,879.90

SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categories.

                                                                                        Declaration
          I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this bill has been served on all parties
in the following manner:
         ✔
         u          Electronic service                                    u         First class mail, postage prepaid
         u          Other:
             s/ Attorney:              s/ Scot L. Claus
                          Name of Attorney: Scot L. Claus
For:                                                        City of Scottsdale                                                                       Date:          02/19/2020
                                                             Name of Claiming Party

                                                                                   Taxation of Costs
Costs are taxed in the amount of                                                                                                                         and included in the judgment.

                                                                                  By:
                           Clerk of Court                                                                       Deputy Clerk                                             Date
                     Case 2:18-cv-00621-DGC Document 94 Filed 02/19/20 Page 2 of 35
AO 133 (Rev. 12/09) Bill of Costs


                                     UNITED STATES DISTRICT COURT
                                    Witness Fees (computation, cf. 28 U.S.C. 1821 for statutory fees)
                                                                     ATTENDANCE           SUBSISTENCE            MILEAGE
                                                                                                                                        Total Cost
           NAME , CITY AND STATE OF RESIDENCE                                   Total               Total                Total         Each Witness
                                                                     Days       Cost      Days      Cost      Miles      Cost

 Jeremy Zarzycki
 100 N. Stone Ave., Ste. 801 Tucson, AZ 85701
                                                                         1                                      114     172.24               $172.24


 Stuart de Haan
 101 E. Pennington St., Ste. 201 Tucson AZ 85701
                                                                         1                                              40.00                 $40.00



                                                                                                                                                $0.00



                                                                                                                                                $0.00



                                                                                                                                                $0.00


                                                                                                                                                $0.00


                                                                                                                    TOTAL                    $212.24


                                                                      NOTICE

  Section 1924, Title 28, U.S. Code (effective September 1, 1948) provides:
  “Sec. 1924. Verification of bill of costs.”
      “Before any bill of costs is taxed, the party claiming any item of cost or disbursement shall attach thereto an affidavit, made by himself or by
  his duly authorized attorney or agent having knowledge of the facts, that such item is correct and has been necessarily incurred in the case and
  that the services for which fees have been charged were actually and necessarily performed.”

  See also Section 1920 of Title 28, which reads in part as follows:
      “A bill of costs shall be filed in the case and, upon allowance, included in the judgment or decree.”

  The Federal Rules of Civil Procedure contain the following provisions:
  RULE 54(d)(1)
  Costs Other than Attorneys’ Fees.
      Unless a federal statute, these rules, or a court order provides otherwise, costs — other than attorney's fees — should be allowed to the
  prevailing party. But costs against the United States, its officers, and its agencies may be imposed only to the extent allowed by law. The clerk
  may tax costs on 14 day's notice. On motion served within the next 7 days, the court may review the clerk's action.

  RULE 6
  (d) Additional Time After Certain Kinds of Service.

      When a party may or must act within a specified time after service and service is made under Rule5(b)(2)(C), (D), (E), or (F), 3 days are
  added after the period would otherwise expire under Rule 6(a).
  RULE 58(e)
  Cost or Fee Awards:
       Ordinarily, the entry of judgment may not be delayed, nor the time for appeal extended, in order to tax costs or award fees. But if a
  timely motion for attorney's fees is made under Rule 54(d)(2), the court may act before a notice of appeal has been filed and become
  effective to order that the motion have the same effect under Federal Rule of Appellate Procedure 4(a)(4) as a timely motion under Rule 59.
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                         City of Scottsdale adv. Satanic Temple
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appropriate email of dwpatents@dickinsonwright.com or
dwtrademarks@dickinsonwright.com to any emails being sent to our office. Thank
you.

Scot L. Claus Member


Dickinson Wright PLLC
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Phoenix AZ 85004

Phone602-285-5086
Fax844-670-6009
EmailSClaus@dickinsonwright.com




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:HDUHSOHDVHGWRSURYLGHIXUWKHULQIRUPDWLRQRQWKHIROORZLQJVHUYLFHVDVUHTXHVWHG

4W\ 6HUYLFH                                                                                  5DWH     3ULFH
    'D\2IILFH5DWH                                                                         
    8QOLPLWHGVHOIVHUYHFRIIHHWHD                                                            
      No timings, please provide them.
727$/                                                                                                 


'XHWROLPLWHGDYDLODELOLW\DQGDVDFRXUWHV\WRRWKHUFXVWRPHUVZHDVNWKDW\RXQRWLI\XVLI
\RXQRORQJHUUHTXLUHWKHERRNLQJRQWKHUHTXHVWHGGDWHV

&DQFHOODWLRQVDUHIUHHLIPDGHZLWKLQWZRKRXUVRIERRNLQJUHTXHVW

 3OHDVH1RWHSULFHVGRQRWLQFOXGHORFDOWD[7KHSULFHTXRWHGH[FOXGHVDQ\SUHSD\PHQW

3OHDVHXVHWKHIROORZLQJGHWDLOVWRFRQWDFWXV
3KRQH       
(PDLO       UHFHSWLRQQHZEXU\VWUHHW#VSDFHVZRUNVFRP            




)D[
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&HQWHU      0$%RVWRQ6SDFHV1HZEXU\6WUHHW
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<RXU&RPSDQ\'HWDLOV
&OLHQW
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                                              1&HQWUDO$YH
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           Case 2:18-cv-00621-DGC Document 94 Filed 02/19/20 Page 13 of 35
7KHLQIRUPDWLRQLQWKLVHPDLOLVFRQILGHQWLDODQGPD\DOVREHSULYLOHJHG,I\RXDUHQRWWKHLQWHQGHG
UHFLSLHQWSOHDVHQRWLI\XVLPPHGLDWHO\

3OHDVHUHYLHZWKHWHUPVDQGFRQGLWLRQVIRU5HJXV0DQDJHPHQW*URXS//&




dŚĞŝŶĨŽƌŵĂƚŝŽŶĐŽŶƚĂŝŶĞĚŝŶƚŚŝƐĞͲŵĂŝů;ŝŶĐůƵĚŝŶŐĂŶǇĂƚƚĂĐŚŵĞŶƚƐͿŝƐŝŶƚĞŶĚĞĚŽŶůǇĨŽƌƚŚĞƉĞƌƐŽŶĂů
ĂŶĚĐŽŶĨŝĚĞŶƚŝĂůƵƐĞŽĨƚŚĞƌĞĐŝƉŝĞŶƚ;ƐͿŶĂŵĞĚĂďŽǀĞ͘/ĨǇŽƵĂƌĞŶŽƚĂŶŝŶƚĞŶĚĞĚƌĞĐŝƉŝĞŶƚŽĨƚŚŝƐŵĞƐƐĂŐĞ͕
ƉůĞĂƐĞŶŽƚŝĨǇƚŚĞƐĞŶĚĞƌďǇƌĞƉůǇŝŶŐƚŽƚŚŝƐŵĞƐƐĂŐĞĂŶĚƚŚĞŶĚĞůĞƚĞƚŚĞŵĞƐƐĂŐĞĂŶĚĂŶǇĐŽƉŝĞƐĨƌŽŵ
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ƌĞĐŝƉŝĞŶƚƐ͕ŝƐŶŽƚĂƵƚŚŽƌŝƐĞĚĂŶĚŵĂǇďĞƵŶůĂǁĨƵů͘




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                          Case 2:18-cv-00621-DGC Document 94 Filed 02/19/20 Page 14 of 35
                                     STATEMENT OF ACCOUNT
  Account name:                                                                    Account number:                  10031432
  Attn:                      Scot Claus                                            Invoice number:                  4083-4675
                             Dickinson Wright                                      Statement date:                  25 September 2019
                             1850 N. Central Ave                                   Due date:                        25 September 2019
                             Suite 1400
                             Phoenix, Arizona 85004
                             United States of America


     USEFUL INFORMATION
     •       You can update your details and check the current status of your account by logging into www.myspacesworks.com
     •       If you have any questions about your statement or invoice, please contact your helpdesk via email:
             Account.Helpdesk@spacesworks.com
             or call onbbbb+1 8888669799
     •       You will be asked for your account number, which can be found at the top of this page.


 Center name:                       MA, Boston - Spaces Newbury Street


 Account balance                                                                                             Payments                   Amount


 Payment received -                                                                                               $ 0.00

 September 2019 invoice 4083-4675                                                                                                       $ 112.80

                                                                Total payment due                                                $ 112.80




Center Address: 361 Newbury Street 3rd, 4th and 5th Floor Boston MA 02115 USA




                                                                                Page 1
                           Case 2:18-cv-00621-DGC Document 94 Filed 02/19/20 Page 15 of 35
                                                                      INVOICE
  Account name:                                                                     Account number:      10031432
  Attn:                             Scot Claus                                      Invoice number:      4083-4675
                                   Dickinson Wright                                 Invoice date:        25 September 2019
                                   1850 N. Central Ave                              Due date:            25 September 2019
                                   Suite 1400
                                   Phoenix, Arizona 85004                           Purchase Order:      53387-11
                                   United States of America


  Center name:                    MA, Boston - Spaces Newbury Street

  Description of Charges                                              Month                      Price    TAX                         Total
  Day Office                                               September 2019                   $ 100.58     $ 0.00                   $ 100.58
  Beverage                                                 September 2019                    $ 10.00     $ 0.63                     $ 10.63
  Copy/Print/Charges                                       September 2019                       $ 1.50   $ 0.09                      $ 1.59


                                                                                  Total (excl. TAX)                             $ 112.08
                                                                                                 TAX                               $ 0.72

                                         September invoice total (inc. TAX)                                                 $ 112.80
                                                                                                                  See next page for details




Center Address: 361 Newbury Street 3rd, 4th and 5th Floor Boston MA 02115 USA




                                                                                Page 2
                                            YOUR INVOICE DETAILS
                           Case 2:18-cv-00621-DGC Document 94 Filed 02/19/20 Page 16 of 35




   Account name:                                                                 Account number:             10031432
   Attn:                          Scot Claus                                     Invoice number:             4083-4675
                                                                                 Invoice date:               25 September 2019
                                                                                 Due date:                   25 September 2019


   Center name:                         MA, Boston - Spaces Newbury Street



  ONE-OFF CHARGES INCURRED
                                                                                                                                          Total
  Item Description                               From Date             To Date                      Price         TAX
                                                                                                                                     (inc. TAX)

  Day Office Charge                                                24 Sep 2019                   $ 100.58       $ 0.00                $ 100.58
  Booked by: Scot Claus Booking: 94558003 P/O: 53387-11
  Unlimited self-serve coffee/tea                                  24 Sep 2019                    $ 10.00       $ 0.63                 $ 10.63
  Booked by: Scot Claus Booking: 94558003 P/O: 53387-11
  Photocopy - Black and White                                      24 Sep 2019                     $ 1.50       $ 0.09                  $ 1.59
  Scot requested a 10 pg document be copied in black and white for 9/24/19 day office booking. Booked by: Scot Claus Booking: 94558003 P/O:
  53387-11
                                                                      Subtotal                   $ 112.08       $ 0.72                $ 112.80


                                                               Total Charges                 $ 112.08          $ 0.72                $ 112.80




Center Address: 361 Newbury Street 3rd, 4th and 5th Floor Boston MA 02115 USA




                                                                                Page 3
                                      METHODS OF PAYMENT
                        Case 2:18-cv-00621-DGC Document 94 Filed 02/19/20 Page 17 of 35




Your current method of payment is:       Amex
Card number ending 1002, expiry date 05/21

                   You can update your payment method to Direct Debit or Credit Card via www.myspacesworks.com


You may pay by Check:
               Please mail to:                           Regus Management Group, LLC
                                                         P.O. Box 842456
                                                         Dallas, Texas 75284-2456
                                                         United States of America
IMPORTANT INFORMATION: Please provide your Invoice Number as a payee reference on all payments and that you allow for a minimum of 7 days mail time prior to
your due date.
You may pay by Bank Transfer to:
               Bank Name:                               Bank of America, N.A.
               Bank Address:                            901 Main St.
                                                        Dallas, Texas 75202
                                                        United States of America
               Account Name:                            Regus Management Group, LLC
               Account Number:                          488000406190
               BIC (Swift):                             BOFAUS3N
               Routing # 1:                             026009593 (Wire)
               Routing # 2:                             111000025 (ACH)
IMPORTANT INFORMATION:
Please provide your Invoice Number <4083-4675> as a payee reference on all payments made.



                       UNDERSTANDING YOUR INVOICE
INVOICE EXPLANATIONS
Account adjustments/refunds                           Any adjustments/refunds that were made to your account.

Account balance                                       The account balance shows recent activity on your account in summary format. It shows the
                                                      balance at the end of the previous summary date and any payments or adjustments that have
                                                      been received since the last statement. The account statement can be found on
                                                      www.myspacesworks.com. The current invoice value is then added to produce the total
                                                      payment due figure.
Credits                                               Credits that were issued against a particular charge for which you have been invoiced for in a
                                                      previous period.
Invoice                                               The invoice shows a summary of all charges (recurring and one-off) related to the invoice
                                                      period.
Late payment fees                                     Fees levied against your account because payment was not received by the expected payment
                                                      due date.
One-off charges incurred                              Variable and/or one-off charges related to a specific invoicing period.

Payment due                                           The latest date on which the invoice needs to be paid. Please note that any outstanding
                                                      balances shown in the account summary will be due for immediate payment.
Payments received                                     All payments received since your last invoice was raised.




                                                                          Page 4
INVOICE EXPLANATIONS
                     Case 2:18-cv-00621-DGC Document 94 Filed 02/19/20 Page 18 of 35
Recurring charges                     These are fixed monthly charges, invoiced in advance.

Total payment due                     The total payment due is the total current balance of monies owed on your account and
                                      includes any amounts that are overdue.


ONE-OFF CHARGES
Beverage                              Charges for beverages including bottled water, coffee, tea and fruit juice.

Copy/Print/Charges                    Photocopying and printing charges for the use of the enterprise grade copier and printer with
                                      discounts based on volume.
Day Office                            Day Office Rental Fees.




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                        Case 2:18-cv-00621-DGC Document 94 Filed 02/19/20 Page 30 of 35
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                                   Details for Order #112-5902320-9088244
                                                     Print this page for your records.

         Order Placed: January 13, 2020
         Amazon.com order number: 112-5902320-9088244
         Order Total: $24.27


                                                            Not Yet Shipped

          Items Ordered                                                                                                Price
          1 of: Hail Satan?, Penny Lane                                                                               $22.35
          Sold by: Amazon.com Services LLC

          Condition: New


          Shipping Address:
          Alex Crandall
          DICKINSON WRIGHT
          1850 N CENTRAL AVE STE 1400
          PHOENIX, AZ 85004-4568
          United States

          Shipping Speed:
          One-Day Shipping


                                                       Payment information
          Payment Method:                                                                          Item(s) Subtotal: $22.35
          Visa | Last digits: 9098                                                             Shipping & Handling: $0.00
                                                                                                                        -----
          Billing address                                                                           Total before tax: $22.35
          Alexandra Crandall
                                                                                       Estimated tax to be collected: $1.92
          2903 E Minton St
                                                                                                                        -----
          MESA, AZ 85213
                                                                                                       Grand Total:$24.27
          United States


                                  To view the status of your order, return to Order Summary.


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IN ACCOUNT W ITH   Case 2:18-cv-00621-DGC Document 94 Filed 02/19/20
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                                                                                C E N T R A31  ofE N 35
                                                                                            L AV     UE, SUITE            1400
                                                                                       PHOENIX, AZ 85004-4568
                                                                                       TELEPHONE: (602) 285-5000
                                                                                       http://www.dickinsonwright.com
                                                                                       FEDERAL I.D. #XX-XXXXXXX




    SATANIC TEMPLE/MICHELLE SHORTT VS. CITY OF SCOTTSDALE AND                          INVOICE DATE: JANUARY 16, 2020
    LANE/KLAPP/KORTE/LITTLEFIELD/PHILLIPS/SMITH                                        INVOICE NO.: 1439753
    CLIENT/MATTER NO.:053387-00011                                                     PAGE 4


     DATE          INITIALS                              SERVICES                                    HOURS              VALUE




                                            TOTAL FEES


                   DISBURSEMENTS                                                                                        VALUE


                   Reproduction - Inside Firm FRSLHV#7ULDO3UHSDUDWLRQ                                    281.60

                                            TOTAL DISBURSEMENTS                                                   $

                                            TOTAL CURRENT INVOICE                                                 $




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                                      SLC Parking at U.S. District Court
                                      Trial - Day 2
                                      Scottsdale adv. Satanic Temple
                                      53387-11




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